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                                      UNITED STATES DISTRICT COURT
10                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           AT SAN FRANCISCO
11
     _________________________________________
12    FOOD & WATER WATCH, et al.,              ) Civ. No. 17-CV-02162-EMC
                                               )
13                            Plaintiffs,      ) JOINT STIPULATION FOR
                  vs.                          ) EXTENSION OF BRIEFING
14                                             ) SCHEDULE AND
      U.S. ENVIRONMENTAL PROTECTION            ) [PROPOSED] ORDER
15    AGENCY, et al.                           ) [LOCAL RULE 7-12]
                                               )
16                            Defendants.      ) Judge: Hon. Edward M. Chen
                                               ) Courtroom: 5, 17th Floor
17                                             )
                                               )
18                                             )
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20          WHEREAS, On October 31, 2024, the Court entered a briefing schedule for Plaintiffs’ motion on
21   attorney fees and costs of suit. ECF No. 449. Pursuant to a stipulation by the parties, the Court ordered
22   that Plaintiffs’ motion be filed “60 days after the earlier of the deadline to file a notice of appeal, or the
23   actual filing of a notice of appeal.” Id. at 2. EPA filed a notice of its intention to appeal on January 17,
24   2025. ECF No. 455, making Plaintiffs’ fee motion due on March 18, 2025.
25          WHEREAS, on February 27, 2025, Plaintiffs filed an unopposed administrative motion to extend
26   the deadline to file the motion for attorney fees and costs by 45-days, May 2, 2025, ECD No. 469, to
27   allow the parties to this action to discuss potential settlement of the fees and costs issues. The Court
28   granted this motion.

                                                  1
               JOINT STIPULATION FOR EXTENSION OF BRIEFING SCHEDULE AND [PROPOSED] ORDER
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 1          WHEREAS, the parties have engaged in settlement discussions, but have been unable to resolve

 2   their issues. Therefore, it will be necessary to proceed with the motion for fees and costs.

 3          WHEREAS, petitioners’ expert on hourly rates in the Northern District is currently unavailable

 4   due to a planned vacation, and will not be able to prepare a declaration prior to May 2, 2025.

 5          WHEREAS, the parties have met and conferred and have agreed that it is reasonable to extend all

 6   dates for the attorney fee and cost motion by 30-days. The parties have stipulated pursuant to Local Rule

 7   7-12 of the Northern District or California as follows:

 8          Deadline for Plaintiffs’ Motion for Fees and Costs: June 2, 2025;

 9          Deadline for Defendant’s Opposition: August 1, 2025

10          Deadline for Plaintiffs’ Reply: September 1, 2025.

11   IT IS SO STIPULATED

12
            April 22, 2025                 /s/ Michael Connett
13          Dated                          MICHAEL CONNETT
                                           Attorney for Plaintiffs
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15

16          April 22, 2025                 /s/ Brandon N. Adkins (signed with permission)
            Dated                          BRANDON N. ADKINS
17                                         Attorney for Defendants
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     PURSUANT TO STIPULATION, IT IS SO ORDERED,
19

20
            ___________                    ____________________________________
21          Dated                          HON. EDWARD M. CHEN
22                                         UNITED STATES DISTRICT JUDGE

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               JOINT STIPULATION FOR EXTENSION OF BRIEFING SCHEDULE AND [PROPOSED] ORDER
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 1                                          CERTIFICATE OF SERVICE

 2          I hereby certify that a true and correct copy of the foregoing was served by Notice of Electronic

 3   Filing this 22nd day of April, 2025, upon all ECF registered counsel of record using the Court’s CM/ECF
     system.
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                                                               /s/ Michael Connett .
 6                                                             MICHAEL CONNETT
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               JOINT STIPULATION FOR EXTENSION OF BRIEFING SCHEDULE AND [PROPOSED] ORDER
